Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 1 of 12 Page|D 26

Fl|.ED B"r' _, ____ D.C-.
IN THE UNITED STATES DISTRICT COURT

FoR THE WESTERN Drs'rchT oF TENNESSEE 5 11 ` , :

WESTERN DIVISION 0 N'[‘ 22 PM 2 35
Trr"~.‘ vol
VINCENT LEFFLER and JANIS elgin `:j`é' in l“>¥“’m
LEFFLER, Individually, and as next 1‘»1'1)0’?
friend ofMADIsoN LEFFLER,

 

Plaintiffs,
v. NO. 04~2141

MEMPHIS CITY SCHOOL BOARD
OF EDUCATION,

Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

Plaintiffs, Vincent Leffler and Janis Leffler, individually, and as next friend of Madison
Leffler, initiated this action under Title IX of the Education Amendrnents of 1972 (“Title IX”), 20
U.S.C. §§ 1681 et s_ecL. against the Defendant, Memphis City Schooi Board of Education (“School
Board”), based on sexual harassment against Madison by a fellow student. Before the Court is
Defendant’s May 6, 2005 motion for summary judgment pursuant to Rule 56, Federal Rules of Civil
Procedure. As the Plaintiffs have responded to the motion, it is now appropriate for disposition

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In the Fall of 2003, Madison Leffler attended Shady Grove Elementary School located in
Memphis, Tennessee. Sometime in October or November of that year, Madison informed her
parents, Who in turn informed various school officials, that another student, DJ, had told her that “I
Want to put my dick in your pussy” and rubbed her while in a classroom and then again in the library.
(Def.’s Statement Undisputed F acts Supporting Def.’s Mot. Surnrn. J. at 1 (“Def.’s Statement”); Pl.’s

Resp. Def.’s Mot, Summ. J. at 1 (“Pls.’ Resp.”).) Vincent Leffler, Madison’s father, came to the

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Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 2 of 12 Page|D 27

school on November 1 l, 2003 and met With Patricia Driscoll, the principal of Shady Grove
Elementary, and gave her a letter recounting the incident (Pls.’ Resp. at 1.) That same day, Driscoll
investigated the incident by meeting with and taking statements from Madison and DJ separately
(Def.’s Statement at 1; Pls.’ Resp. at 2.) While meeting with DJ, Driscoll concluded that DJ had
made the comment to Madison but could not determine whether DJ touched her because he denied
doing so. (Def.’s Statement at 2 & Ex. 1: Deposition of Patricia Driscoll at 18.) Consequently, DJ
was reprimanded by Driscoll, warned not to behave in such a manner again, and made to write an
apology letter to Madison and her parents As well, DJ’s mother was informed of the incident
(Def.’s Statement at 2 & Ex. I: Driscoll dep. at 18.) Madison and DJ’s teacher, Claree Jones, was
also informed of the problem and moved Madison and DJ to separate sides of the classroom. (Def. ’s
Statement at 2; Pls. ’ Resp. at 2.) However, Madison testified at her deposition that the move did not
help. (Def.’s Statement, Ex. 3: Deposition of Madison Leffler at 20.)

After the incident, Madison met frequently with Patsy Fielder, the school counselor. (Def.’s
Statement at 2 & Ex. 3: Madison Leffler dep. at 9.) Fielder stated in her affidavit that based on her
conversation with Madison, DJ had not committed any more acts that could be considered sexual
harassment (Affidavit of Patsy B. Fielder at 2.) Similarly, Driscoll testified that “[w]e had no
reports, either from the classroom teacher or from Madison that D.J. had acted inappropriately
towards [her] after our first meeting.” (Affidavit ofPatricia Driscoll at 3.) However, according to
Dr. Elizabeth Harris, a clinical psychologist, Madison told her that on one occasion DJ yelled at her
when she walked by his desk and said “get away from me little girl.” (Pls.’ Resp. at 3 & Ex. 2:
Deposition of Dr. Elizabeth Harris at 1 1-12.)

Madison’s teacher stated that her grades did not suffer following the incident and that she did
not seem upset or frightened by DJ. (J ones aff. at 2.) ln contrast, Janis Leffler averred that Madison

2

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 3 of 12 Page|D 28

began bringing home F ’s on several homework assignments and had trouble focusing on her school
work. (Pls.’ Resp., Ex. 1: Affidavit of Janis Leffler at 2.)

In January 2004, according to Driscoll, DJ was moved to another classroom in an effort to
appease the Lefflers. (Driscoll aff. at 3.) Nonetheless, Madison’s parent removed her from Shady
Grove Elementary. (Def.’s Statement at 3.) The parties do not dispute the fact that “DJ' has never
had any other incidents or complaints that could be construed as sexual harassment, prior to or
following the allegations in this lawsuit.” (Def.’s Statement at 3; Pls.’ Resp. at 5.)

Plaintiffs seek to recover damages against the Defendant under Title IX, the Tennessee
Human Rights Act (“THRA”), Tenn. Code Ann. § 4-21-101 e_t Yg;, and Tennessee common law for
the tort of intentional infliction of emotional distress.

STANDARD FOR SUMMARY JUDGMENT

Rule 56(c) provides that a

judgment . . . shall be rendered forthwith if the pleadings, depositions, answers

to interrogatories, and admissions on fiie, together with the affidavits, if any,

show that there is no genuine issue as to any material fact and that the moving

party is entitled to a judgment as a matter of law.

Fed. R. Civ. P. 56(c); §§ Celotex Corn. v. Catrett. 477 U.S. 317, 322, 106 S.Ct. 2548, 2552, 91
L.Ed.2d 265 (1986); Canderm Pharmacal. Ltd. v. Elder Pharmaceuticals. lnc., 862 F.2d 597, 601 (6th
Cir. 1988). In reviewing a motion for summary judgment, the evidence must be viewed in the light
most favorable to the nonmoving party. Matsushita Elec. lndus. Co.r Ltd. v. Zenith Radio Corp.. 475
U.S. 574, 587, 106 S.Ct. 1348, 1356, 89 L.Ed.2d 538 (1986). When the motion is supported by
documentary proof such as depositions and affidavits, the nonmoving party may not rest on his

pleadings but, rather, must present some “specific facts showing that there is a genuine issue for

trial.” Celotex, 477 U.S. at 324, 106 S.Ct. at 2553. lt is not sufficient “simply [to] show that there

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 4 of 12 Page|D 29

is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co., 475 U.S. at 586,
106 S.Ct. at 1356. These facts must be more than a scintilla of evidence and must meet the standard
of whether a reasonable juror could find by a preponderance of the evidence that the nonmoving
party is entitled to a verdictl Anderson v. Libertv Lobbv. Inc., 477 U.S. 242, 252, 106 S.Ct. 2505,
2512, 91 L.Ed.2d 202 (1986). Summary judgment must be entered “against a party who fails to
make a showing sufficient to establish the existence of an element essential to that party’s case, and
on which that party will bear the burden of proof at trial.” Mte_x, 477 U.S. at 322, 106 S.Ct. at
2552. ln this circuit, “this requires the nonmoving part[ies] to ‘put up or shut up’ [on] the critical
issues of [their] asserted causes of action.” Lord v. Saratoga Caoital. lnc., 920 F. Supp. 840, 847
(W.D. Tenn. 1995) (citing Street v. J'.C. Bradford & Co., 886 F.2d 1472, 1478 (6th Cir. 1989)). The

“judge may not make credibility determinations or weigh the evidence.” Adams v. Metiva, 3 l F.3d

 

375, 379 (6th Cir. 1994).
ANALYSIS

l. Plaintiffs’ Title IX Claim

Title IX provides that “[n]o person in the United States shall, on the basis of sex, be excluded
from participation in, be denied the benefits of, or be subjected to discrimination under any
educational program or activity receiving Federal financial assistance.”1 20 U.S.C. § 1681(a). ln
Davis v. Monroe Countv Board ofEducation, 526 U.S. 629, 650, 119 S.Ct. 1661, 1675, 143 L.Ed.2d
839 (1999), the United States Supreme Court held that student-on-student harassment constitutes
“discrimination” under Title IX when it is “so severe, pervasive, and objectively offensive that it can

be said to deprive the victims of access to the educational opportunities or benefits provided by the

 

1 Neither party disputes that the Memphis City Schools received Federal financial
assistance

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 5 of 12 Page|D 30

school.” In addition to proving the severity, pervasiveness, and offensiveness of the harassment as
set forth in _ngi_s, a plaintiff who claims student-on-student sexual harassment under Title IX must
establish “(2) that the funding recipient had actual knowledge of the sexual harassment, and (3) that
the funding recipient was deliberately indifferent to the harassment.” Soper v. Hoben, 195 F.3d 845,

854 (6th Cir. 1999) (citing Davis, 526 U.S. at 633-642, 119 S.Ct. at 1666-71). Davis held that

 

the most obvious example of student-on-student sexual harassment capable of

triggering a damages claim would thus involve the overt, physical deprivation of

access to school resources Consider, for example, a case in which male students

physically threaten their female peers every day, successfully preventing the female

students from using a particular school resource-an athletic field or a computer lab,

for instance. District administrators are well aware of the daily ritual, yet they

deliberately ignore requests for aid from the female students wishing to use the

resource.
Davis, 526 U.S. at 650-51, 119 S.Ct. at 1675. “Whether gender-oriented conduct rises to the level
of actionable ‘harassment’ . . . ‘depends on a constellation of surrounding circumstances,
expectations, and relationships,’ . . . including, but not limited to, the ages of the harasser and the
victim and number of individuals involved.” I_cL at 651, 119 S.Ct. at 1675. Moreover, “[p]eer
harassment, in particular, is less likely to satisfy these requirements than is teacher-student
harassment.” l_cL at 653, 119 S.Ct. at 1676. A plaintiff can demonstrate a defendant’s deliberate
indifference “only where the recipient’s response to the harassment or lack thereof is clearly
unreasonable in light of the known circumstances.” id at 648, 119 S.Ct. 1661. “The standard does
not mean that recipients must expel every student accused of misconduct” nor do victims “have a

right to particular remedial demands.” Vance v. Snencer Countv Pub. Sch. Dist., 231 F.3d 25 3, 260

(6th Cir. 2000) (citing to Davis, 526 U.S. at 648, 119 S.Ct. 1661). Moreover, “courts should not

 

second guess the disciplinary decisions that school administrators make.” Ld.

Defendant argues that the conduct about which P]aintiffs complain did not amount to sexual

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 6 of 12 Page|D 31

harassment under Title IX. ln support of its position, the School Board relies primarily on BLkin_s
v. Sarasota Countv School Board. 322 F.3d 1279, 1281 ( l lth Cir. 2003), in which an eight-year-old
boy repeatedly told girls to “suck it” while making gestures with his genitals, that he “wanted to
suck” their breast “till the milk came out,” that the girls “suck the juice from his penis,” that “you
have a bun, and l have a hot dog, and 1 want to eat them both,” and that “he wanted [the girls] to
have sex with him.” He also allegedly touched their chests, jumped onto one of the girls and rubbed
his body on hers and tried to look up her skirt. The Eleventh Circuit found that such conduct
occurring over a period of several months was not so severe or pervasive that the girls were denied
equal access to an educational program or activity when the victims’ grades did not appear to suffer,
even though they cried more frequently, appeared anxious, were reluctant to go to school, and two
of the three girls faked being sick in order not to go to school. I_cL at 1281, 1289.

Defendant submits that the facts of this case are much less egregious and pervasive then those
in Hawkins. The School Board argues that DJ’s actions, even assuming he touched Madison, were
brief, relatively mild, and stopped after the principal learned of his actions. (Mem. Supp. Mot.
Summ. J. at 8 (“Def. ’s Mem.”).) l\/ladison’s teacher testified that the student victim did not appear
to be anxious in class and that her grades did not suffer. (Jones aff. at 2.) Under these facts,
Defendant contends that Plaintiffs cannot prevail on their Title IX claim.

In response, Plaintiffs insists that Dr. Harris’ testimony stating “what happened to Madison
deprived her of educational opportunities” and “Madison’ s behavior at home including her inability
to focus on her work and her troubling behavior” support a finding that she was subjected to
actionable harassment under Title lX. (Pls.’ Resp. at 7.) Plaintiffs also point to the two instances
of sexually harassing conduct and one instance of verbal harassment which Madison complained
about to Dr. Harris which allegedly continued for approximately two weeks. (Pls.’ Resp. at 3.)

6

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 7 of 12 Page|D 32

Finally, Plaintiffs claim that Madison was denied access to educational resources as evidenced by
her failing grades on several assignments even though her overall grades seemed to remain constant
(Pls.’ Resp. at 3.) Additionally, Janice Leffler related that “Madison would complain of a different
ailment each day to avoid going to school.” (Pls.’ Resp., Ex. 1: Leffler aff. at 2.) Thus, the Lefflers
contend that l\/ladison was subjected to such sexual harassment that would meet the requirements
for a claim under Title IX.

Viewing the evidence in the light most favorable to the Plaintiffs, the Court finds that
Plaintiffs’ allegations, even if taken as true, do not amount to such severe and pervasive conduct
Which would amount to a deprivation of Madison’s right to access to educational opportunities or
benefits provided by the school. Here, l\/ladison claims that DJ touched her on two occasions and
made a sexually related statement (Def.’s Statement at 1.) Although such conduct is clearly
offensive, it is not sufficiently severe or pervasive to amount to a violation of Title IX. This case
may be distinguished from the facts in QLiS, where the Supreme Court found that a girl had been
subjected to a sexually hostile environment when a male student, over a period of five months,
attempted to touch the girl’s breasts and genital area, made vulgar statements, placed a door stop in
his pants while acting in a sexually suggestive manner, and rubbed his body against her in the
hallway. _lM, 526 U.S, at 634, 119 S.Ct. at 1667. ln contrast, Madison was only subjected to one
vulgar statement and offensive touching on two occasions over a period of two weeks. (Pls.’ Resp.,
Ex. 2: Harris dep. at 23-24.)

Furthermore, the Court finds the reasoning of Hawkins v. Sarasota County School Board
persuasive In Hawkins, a male student made several sexually offensive remarks to a female student
and touched other students inappropriately on multiple occasions. Hawkins, 322 F.3d at 1281 . The
court there determined that “[n]o physical exclusion or denial of access to facilities” resulted. Id.

7

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 8 of 12 Page|D 33

at 1289. Hawkins also noted that two girls who faked being sick in an effort to avoid going to
school “falls short of demonstrating a systemic effect of denying equal access to an educational
program or activity.” ld. The conduct directed toward Madison was not as offensive as that Which
occurred in Hawkins. Even assuming that l\/ladison’s grades were adversely affected and that she
complained of different ailments to avoid going to school, the harassment by DJ occurred on only
two or three occasions over a period of two weeks. Plaintiffs admit that DJ has not been involved
in any other incidents that could be considered sexual harassment (Pls.’ Resp. at 5.) The Supreme
Court in w directed courts to consider the surrounding circumstances, including the ages of the
harasser and victim as well as the number of individuals involved. m, 526 U.S. at 651, 1 19 S.Ct.
at 1675. Here, both Madison and DJ were nine-years-old at the time and they were the only persons
involved. While l\/ladison may have been subjected to inappropriate conduct the Court finds that
DJ’s behavior was not so severe, pervasive, or offensive that it denied Madison equal access to
education B § at 652, 119 S.Ct. at 1675 (“Courts . . . must bear in mind that schools are unlike
the adult workplace and that children may regularly interact in a manner that would be unacceptable
among adults.”) The Court does not condone this type of behavior nor finds that it is to be taken
lightly. lnstead, the Court merely concludes that DJ’S conduct, although offensive, does not rise to
the level of being actionable under Title IX.

Even assuming that DJ’s conduct amounted to actionable harassment under Title IX, the
Plaintiffs have failed to show that the Defendant ignored the situationl “The recipient is liable for
damages only where the recipient itself intentionally acted in clear violation of Title IX by remaining

deliberately indifferent to known acts of harassment.” Vance, 231 F.3d at 260. ln this case, it is

 

undisputed that the principal of the elementary school required DJ to write a letter of apology to
Madison, provided the student counseling, initially placed DJ and Madison on separate sides of the

8

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 9 of 12 Page|D 34

classroom, and then ultimately removed DJ from Madison’s classroom. (Def.’s Statement at 1-3;
Pls.’ Statement at 1-6.) Defendant’s response was not “clearly unreasonable in light of the known
circumstances.” Davis, 526 U.S. at 648, l 19 S.Ct. 1661. In addition, this Court “should not second

guess the disciplinary decisions” of the school administrators Vance, 231 F.3d at 260.

 

Plaintiffs argue that the Defendant’s initial decision to leave Madison and DJ in the same
classroom amounted to deliberate indifference (Pls.’ Resp. at 8.) The Lefflers point to Dr. Harris’
testimony where she informed Fielder, the school guidance counselor, that “it was very important
for Madison to remain in her own classroom but that it didn’t really make sense for the boy who
Madison reported molested her and was bullying her to stay in - remain in that classroom.” (Pls.’
Resp., Ex. 2: Harris dep. at 14.) Additionally, Plaintiffs submit that the Defendant failed to comply
with its own policy, 5147.1(V.)(C)(3), requiring modification in student schedules in response to
credible allegations of student-on-student sexual harassment (Pls.’ Resp. at 10.) In support of their
position, Plaintiffs cite to Doe v. School Administrative Dist. No. 19, 66 F. Supp. 2d 57, 64 (D. Me.
l 999), where the court determined that summary j udgment was not appropriate where the school was
not specifically confronted with a student’s allegations of sexual harassment by a teacher but school
officials had previously learned of complaints about the harassing teacher’s involvement with a

student Plaintiffs also rely on Vance, in which the Sixth Circuit concluded that use of the “Same

 

ineffective methods[, i.e., talking to the offenders,] to no acknowledged avail” amounted to
deliberate indifference when the offenders continued to harass the female student lan_c§, 231 F.3d
at 262.

The Court finds Plaintiffs’ arguments unpersuasive As stated above, the Defendant initially
separated the students by moving DJ to a different part of the classroom and eventually removed him
altogether from Madison’s class. Additionally, the Court finds Doe v. School Administrative Dist.

9

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 10 of 12 Page|D 35

No. 19 distinguishable because it involved teacher-student harassment and the defendant there did
not confront the alleged offender about the conduct § Davis, 526 U.S. at 653, 119 S.Ct. at 1676
(stating that teacher-student harassment is more likely to satisfy the requirements of a Title IX claim

than peer harassment). Furthennore, unlike Vance, Driscoll did more than talk to DJ. As previously

 

stated, she admonished DJ about his behavior, made him apologize to Madison, notified his mother,
and moved him to the opposite side of the classroom from Madison. (Def.’s Statement at 2 & Ex.
1: Driscoll dep. at 18.) Although the Lefflers claim that the School Board was deliberately

indifferent by failing to entirely remove DJ from Madison’s presence, Plaintiffs “do not have a right

 

to particular remedial demands.” Vance, 231 F.3d at 260. Nevertheless, the Defendant did
eventually remove DJ from Madison’s class. (Driscoll aff. at 3.) Finally, Plaintiffs concede that
there were no other incidents or complaints about DJ of a sexually harassing nature, before or after
the one in question (Pls.’ Resp. at 5.) Accordingly, the Court concludes that the Defendant’s
response to Plaintiffs’ allegations did not amount to deliberate indifference because the school’s
actions were not clearly unreasonable under the circumstances &a;e_ M, 526 U.S. at 651, 119
S.Ct. at 1675.

II. Plaintiffs’ Tennessee State Law Claims

With the resolution of Plaintiffs’ federal claim, the only remaining causes of action fall
under Tennessee state law. The acceptance by a district court of supplemental or pendent
jurisdiction over state law claims is governed by 28 U.S.C. § 1367, which expressly permits a
court to decline the exercise of jurisdiction when it has dismissed all claims over which it had
original jurisdiction 28 U.S.C. § 1367(c)(3). Without any remaining federal claims against the
Defendant or diversity of citizenship between the parties, the Court declines to exercise

jurisdiction over the Plaintiffs’ state law claims under the THRA and Tennessee common law

10

Case 2:O4-cv-O2141-.]DB-dkv Document 21 Filed 08/22/05 Page 11 of 12 Page|D 36

and thus DISMISSES them without prejudice. See Weeks v. Portage Countv Executive

Oflices, 235 F.3d 275, 279-80 (6th Cir. 2000) (district court’s decision to decline to exercise

supplemental jurisdiction lies within its sound discretion).

CONCLUSION

For the reasons set forth herein, the motion of the Defendant for summary judgment is

GRANTED and the Clerk of Court is directed to enter judgment in accordance herewith
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Notice of Distribution

This notice confirms a copy of the document docketed as number 21 in
case 2:04-CV-02141 was distributed by fax, mail, or direct printing on
August 22, 2005 to the parties listed.

 

 

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Honorable .1. Breen
US DISTRICT COURT

